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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
             Debtors.
                                                            Related Docket No. 936


     CERTIFICATE OF NO OBJECTION REGARDING FIFTH MONTHLY STAFFING
      AND COMPENSATION REPORT OF HURON CONSULTING SERVICES LLC
     FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 2023

                   On January 30, 2024, the undersigned counsel filed on behalf of Huron Consulting

Services LLC (“Huron”) the Fifth Monthly Staffing and Compensation Report of Huron

Consulting Services LLC for the Period from December 1, 2023, Through December 31, 2023

[Docket No. 936] (the “Application”). The notice attached to the Application established a

deadline of February 20, 2024, at 4:00 p.m. (Eastern Time) for filing and serving objections or

responses to the Application.

                   The undersigned counsel certifies that no formal or informal objections or responses

have been received with respect to the Application. The undersigned further certifies that she has

reviewed the docket in these cases and that no objection or response to the Application appears

thereon.

                   Accordingly, pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals and Committee

Members [Docket No. 181], the Debtors are authorized to pay Huron a total of $87,524.00, which




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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represents 80% of the total fees $109,405.002 requested in the Application, upon the filing of this

certificate and without the need for entry of a Court order approving the Application.

Dated: February 21, 2024                      Respectfully submitted,
Wilmington, Delaware
                                              TROUTMAN PEPPER HAMILTON SANDERS LLP

                                              /s/ Tori L. Remington
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                                              Creditors



2
    Reimbursement of expenses was not requested in the Application.

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